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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                                             Bky. No. 18-50037

Brian A. Lerbakken,

            Debtor.
______________________________________________________________________________

            MOTION OF SIELOFF & ASSOCIATES, P.A. OBJECTING
                 TO DEBTOR'S CLAIM OF EXEMPT PROPERTY
______________________________________________________________________________

                1.   Sieloff and Associates, P.A. (“Sieloff”) brings this motion and gives notice of

hearing.

                2.   A hearing on this Motion will be held before the Honorable Robert J. Kressel on

May 15, 2018, at 9:30 a.m. in Courtroom 2, U.S. Courthouse, 515 West First Street, Duluth,

Minnesota 55802 or as soon thereafter as counsel may be heard

                3.   Any response to this Motion must be filed and delivered not later than May 10,

2018, which is five (5) days before the time set for the hearing (including Saturdays, Sundays

and holidays. UNLESS A RESPONSE OPPOSING THIS MOTION IS TIMELY FILED, THE

COURT MAY GRANT THE MOTION WITHOUT A HEARING.

                4.   This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§157 and

1334, Fed. R. Bankr. P. 4003 and Local Rules 1070-1. This proceeding is a core proceeding.

The petition commencing this Chapter 7 case was filed on January 23, 2018, and the case is now

pending in this Court.

                5.   This motion arises under 11 U.S.C. §522, Bankruptcy Rule 4003(b) and Local

Rule 4003-1. This motion is filed under Fed. R. Bankr. P. 9014 and Local Rule 9013-1. Sieloff

objects to the claim of exempt property of the Debtor, Brian A. Lerbakken (“Debtor”), in the


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proceeds of his ex-wife’s 401K account and IRA account, which the Debtor obtained through a

property settlement in his marital dissolution proceeding, and moves for the disallowance of the

claimed exemptions.

                                                 Factual Background

                6.     The Debtor retained Sieloff to represent him in his marital dissolution proceeding

in Lake County, Minnesota, and executed a retainer agreement dated September 5, 2014,

obligating him to pay Sieloff the costs of legal representation. See Retainer Agreement, attached

as Ex. A to Affidavit of Ronald B. Sieloff (hereinafter, “Sieloff Aff.”).

                7.     Sieloff represented the Debtor in his marital dissolution proceeding from

September 5, 2014 through July 12, 2016, during which time the Debtor incurred attorney fees

and costs of $25,730.40.

                8.     The Debtor and his ex-wife entered into a Financial Early Neutral Evaluation

Settlement Agreement dated February 17, 2015 (“FENE Agreement”). See Financial Early

Neutral Evaluation Settlement Agreement dated February 17, 2015, Ex. B to Sieloff Aff. The

FENE Agreement was incorporated into an Order filed on October 5, 2015, and was also

attached as Exhibit B to the Judgment and Decree of Dissolution on August 8, 2017. See

Findings of Fact, Conclusions of Law, Order for Judgment and Judgment and Decree, in the

case, In re the Marriage of Brain Allan Lerbakken, Petitioner and Paula Jean Foede,

Respondent, Case No. 38-FA-14-379 (“Dissolution Decree”), Ex. F to Sieloff Aff.

                9.     In the FENE Agreement, the parties agreed that Debtor’s ex-wife would pay an

equity balancing payment of $23,287.00 to the Debtor, “payable to [Sieloff’s] trust account as

follows:

                [R]espondent [ex-wife] shall pay to the petitioner [Debtor] an equity balancing payment
                of $23,287 payable within 120 days of the date of entry of judgment, payable to the
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                [Debtor’s] attorney’s trust account.

FENE Agreement, ¶3.

                10.    Sieloff was a third-party beneficiary to the FENE Agreement, as the Debtor and

his ex-wife agreed that the ex-wife would pay the equity balancing payment of $23,287 directly

to Sieloff’s trust account to pay the Debtor’s attorney fees incurred in the marital dissolution

proceeding.

                11.    Sieloff served a Notice of Attorney Lien on the Debtor, the Debtor’s counsel and

on his ex-wife’s counsel, on October 26, 2016, in the amount of $25,730.40. See Exs. C and D

to Sieloff Aff.

                12.    Sieloff perfected his attorney lien against the Debtor’s personal property,

including assets received pursuant to the Judgment and Decree in the dissolution proceeding by

filing a UCC-1 Financing Statement with the Office of the Minnesota Secretary of State on

October 26, 2016, Filing no. 911876300021. See Ex. E to Sieloff Aff.

                13.    After the parties entered into the FENE Agreement, the Debtor received a

workers’ compensation settlement of $270,000 attributable to lost wages.               See Dissolution

Decree at 3, Finding of Fact XII, Ex. F to Sieloff Aff.

                14.    After the execution of the FENE Agreement and the Debtor’s receipt of his

worker’s compensation settlement of $270,000, without notice to Sieloff, the Debtor and his ex-

wife agreed that the ex-wife was entitled to receive $19,575 as her marital portion of the

Debtor’s worker’s compensation settlement. See Dissolution Decree and Memorandum at 16-17.

Ex. F to Sieloff Aff.

                15.    As a result of the undisclosed agreement between the Debtor and the ex-wife

regarding the workers compensation settlement, the ex-wife’s equity balancing payment was

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reduced from $23,287, as previously stated in the FENE Agreement, by $19,575, to $3,712.

                16.    The Dissolution Decree entered by the Family Court on August 8, 2017, provided

for distribution of assets between the parties, including the award to the Debtor of proceeds of

$19,281.45 from the ex-wife’s 401K Retirement Account with Wells Fargo (“401K Proceeds”),

proceeds of the ex-wife’s Wells Fargo Traditional IRA (“IRA Proceeds”), and the newly

agreed-to equity balancing payment from the ex-wife to the Debtor in the reduced amount of

$3,712. See Dissolution Decree, at 8, and Memorandum at 16-17, Ex. F to Sieloff Aff.

                17.    Neither the Debtor nor his ex-wife paid Sieloff the attorney fees of $25,730.40.

                18.    Sieloff filed a Motion for Enforcement of Attorney’s Lien with the Lake County

District Court.

                19.    After a hearing on October 16, 2017, the Lake County District Court entered the

Order Establishing and Enforcing Attorney’s Lien in Sieloff’s favor, in the amount of

$25,730.40, plus $3,000 reflecting the additional fees in bringing the motion to enforce the

attorney’s lien, for a total judgment of $28,730.40. See Notice of Filing and Entry of Order

Establishing and Enforcing Attorney’s Lien dated October 16, 2017, in In re the Marriage of

Brain Allan Lerbakken, Petitioner and Paula Jean Foede, Respondent, and Sieloff and

Associates, P.A., Attorney Lien Complainant, Case no. 38-FA-14-379 (“Attorney Lien Order”),

Ex. G to Sieloff Aff.

                20.    The Attorney Lien Order clarified that all property awarded to the Debtor under

the FENE Agreement and Dissolution Decree was assigned to Sieloff to the extent necessary to

fully satisfy the $28,730.40 debt for attorney fees.

                That any monies or properties of [the ex-wife] awarded to or payable to [the Debtor] by
                [the ex-wife] pursuant to the Findings of Fact, Conclusions of Law, Order for Judgment
                and Judgment and Decree filed on 8/8/17 is assigned to Sieloff and shall be paid to
                Sieloff by [the ex-wife] until such time as [the Debtor’s] $28,730.40 debt to Sieloff is
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                paid and fully satisfied.

Attorney Lien Order at ¶3, Ex. G. to Sieloff Aff.

                21.    The Attorney Lien Order clarified that all property awarded to the Debtor under

the FENE Agreement and Dissolution Decree is subject to Sieloff’s attorney lien:

                That the attorney’s lien so established to Sieloff and Associates, P.A. is an
                attorney's lien against (a) any and all monies, personal property and real property
                awarded to [the Debtor] as part to the property distribution awarded to him or (b)
                ordered to be paid by [the ex-wife] to [the Debtor] for spousal maintenance of for
                any other reason in the above-captioned dissolution proceeding.

Id. at ¶5.

                22.    The Debtor filed his Chapter 7 bankruptcy petition on January 23, 2018.

                23.    In his Schedule C-Exempt Property, the Debtor claims as exempt the 401K

Proceeds of $19,281.45 and the IRA Proceeds of $2,650 under Minn. Stat.§522(b)(3)(C). See

Ex. H to Sieloff Aff.

                24.    Sieloff objects to the claimed exemption in the 401K Proceeds and the IRA

Proceeds because Sieloff has a perfected attorney’s lien against these funds, which subsumes the

entirety of the asset. Sieloff gave proper notice of the attorney’s lien and filed a UCC-1

Financing Statement with the Office of the Minnesota Secretary of State on October 26, 2016,

and the Attorney Lien Order entered in the dissolution proceeding affirmed the validity and

scope of Sieloff’s attorney lien. Property received through a property settlement in a marital

dissolution proceeding is bankruptcy estate property under 11 U.S.C. §541(a). In addition, the

Debtor cannot claim an exemption in the 401K Proceeds and the IRA Proceeds because they do

not qualify as “retirement funds” under the Supreme Court decision, Clark v. Rameker, 134 S.

Ct. 2242 (2014).

                25.    In the event any evidence or testimony is necessary and appropriate at any hearing

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on this motion, the Ronald B. Sieloff may testify, and may call the Debtor to testify and give

evidence.

                WHEREFORE, Sieloff & Associates, P.A. request that the court enter an order denying

the Debtor’s claim of exemption in the 401K Proceeds and in the IRA Proceeds, and for such

other and further relief as is just and equitable.



                                                         LEONARD, O’BRIEN
                                                         SPENCER, GALE &SAYRE, LTD.


Dated: March 28, 2018                                    By: /e/ Andrea M. Hauser
                                                             Matthew R. Burton, #
                                                             mburton @losgs.com
                                                             Andrea M. Hauser, #207469
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                                                             (612) 332-1030
                                                         Attorneys for Sieloff & Associates, P.A.




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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
____________________________________________________________________________

In re:                                                                      Case No. 18-50037

Brian A. Lerbakken,                                                                   Chapter 7

            Debtor.
_____________________________________________________________________________

   MEMORANDUM IN SUPPORT OF MOTION OF SIELOFF & ASSOCIATES, P.A.
           OBJECTING TO DEBTOR’S CLAIM OF EXEMPT PROPERTY
  ____________________________________________________________________________

                The secured creditor Sieloff and Associates, P.A. (“Sieloff”) seeks an order disallowing

the claimed exemptions of the Debtor, Brian A. Lerbakken (“Debtor”) in proceeds of the 401K

account and in the IRA account of the Debtor’s ex-wife. The facts supporting this objection are

set forth in the Motion of Sieloff & Associates, P.A. Objecting to Debtor’s Claim of Exempt

Property filed with this Memorandum.

                                                 ARGUMENT

                The Debtor cannot claim the proceeds of his ex-wife’s 401K account of $19,281.45 or

more (“401K Proceeds”), or the proceeds of his ex-wife’s Wells Fargo IRA account of $2,650

(“IRA Proceeds”) as exempt under 11 U.S.C. 522(b)(3)(c) because Sieloff had a perfected

attorney’s lien against the 401K Proceeds and IRA Proceeds. Sieloff filed a UCC-1 Financing

Statement with the Office of the Minnesota Secretary of State on October 26, 2016, and Sieloff’s

perfected attorney’s lien was affirmed by the state court in its Attorney Lien Order in the marital

dissolution proceeding. In addition, the Debtor cannot claim an exemption in 401K Proceeds

and IRA Proceeds because they do not qualify as “retirement funds” under the Supreme Court

decision, Clark v. Rameker, 134 S. Ct. 2242 (2014).

                The Bankruptcy Code permits a debtor to exempt from the bankruptcy estate any



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property which is exempt under applicable state statutes on the date of filing of the petition. 11

U.S.C. §522(b)(3)(A). The Debtor may only exempt the value of property he owned on the

petition date, January 23, 2018. “The status as to exemptions is fixed as of the filing of the

petition in bankruptcy.” Bruce v. Najarian, 249 Minn. 99, 81 N.W.2d 282, 297 (1957).

                “State law governs the resolution of property rights within a bankruptcy proceeding and,

therefore, Minnesota law governs this case.” See In re Farr, 407 B.R. 343, 346, 2009 WL

1577649, *2, n. 5 (8th Cir. BAP 2009), citing In re MJK Clearing, Inc., 371 F.3d 397, 401 (8th

Cir. 2004). The Court must review “the circumstances prevailing when the bankruptcy petition

was filed” to determine whether the Debtor’s claimed exemptions are allowed                   See In re

Smoinikar, 200 B.R. 640, 644 (Bankr. D. Minn. 1996).

                Sieloff can meet his burden of showing that the Debtor is not entitled to the claimed

exemption under the undisputed facts of this case. See Bankruptcy Rule 4003(c); see also, In re

Stenzel, 301 F. 3d 945, 947 (8th Cir. 2002) (objecting party has burden of showing lack of

entitlement to exemption). Here, the Debtor has claimed exemptions in personal property

encumbered by perfected statutory liens which are not subject to avoidance under the 11 U.S.C.

§545.

A.              The 401K Proceeds and IRA Proceeds Which the Debtor Obtained Through the
                FENE Agreement and Dissolution Decree Are Subject to Sieloff’s Perfected
                Attorney’s Lien.

                The Debtor retained Sieloff to represent him in his marital dissolution and executed a

Retainer Agreement dated September 5, 2014, obligating him to pay Sieloff the costs of legal

representation. The Debtor incurred attorney fees and costs of $25,730.40 in his marital

dissolution proceeding. Sieloff served a Notice of Attorney Lien on the Debtor, the Debtor’s ex-

wife, and on her attorney on October 26, 2016, in the amount of $25,730.40. Sieloff also filed



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the Notice of Attorney Lien with the Office of the County Recorder, Lake County, and a UCC-1

Financing Statement with the Office of the Minnesota Secretary of State in October 26, 2016.

                The Debtor obtained the rights to the 401K Proceeds and IRA Proceeds as part of his

property settlement with his ex-wife. The Debtor and his ex-wife entered into the Financial

Early Neutral Evaluation Settlement Agreement on February 17, 2015, pursuant to which the

parties agreed that the ex-wife would deposit an “equity balancing payment of $23,287” into

Sieloff’s trust account. See Financial Early Neutral Evaluation Settlement Agreement, ¶3

(“FENE Agreement”), Ex. B to Sieloff Aff. The FENE Agreement was incorporated into an

Order filed on October 5, 2015, and was also attached as Exhibit B to the Judgment and Decree

of Dissolution on August 8, 2017.              See Findings of Fact, Conclusions of Law, Order for

Judgment and Judgment and Decree, in the case, In re the Marriage of Brain Allan Lerbakken,

Petitioner and Paula Jean Foede, Respondent, Case No. 38-FA-14-379 (“Dissolution Decree”),

Ex. F to Sieloff Aff.

                The “equity balancing payment” was later adjusted to the smaller payment of $3,712

pursuant to the agreement between the Debtor and his ex-wife, which was not disclosed to

Sieloff. See Dissolution Decree at 16-17. The Debtor was awarded the 401K Proceeds and IRA

Proceeds. Id. at 8. As the 401K Proceeds and IRA Proceeds are part of the property settlement,

they        are     bankruptcy    estate   property   under   11   U.S.C.   §541(a);   see    also,   In re

Radinick, 419 B.R. 291, 294 (Bankr. W.D. Pa. 2009) (debtor’s interest in distribution of

spouse’s retirement account is property of the estate).

                When the Debtor failed to pay Sieloff the attorney fees he had incurred of $25,730.40,

Sieloff filed a motion for enforcement of attorney’s lien and obtained an Order Establishing and

Enforcing Attorney’s Lien, affirming his perfected security interest of $25,730.40 in the property



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awarded to the Debtor, plus additional fees and expenses of bringing the motions, for a total

perfected security interest of $28,730.40. See Notice of Filing and Entry of Order Establishing

and Enforcing Attorney’s Lien dated October 16, 2017 (“Attorney Lien Order”), Ex. G to

Sieloff Aff.

                Sieloff’s claim of $28,730.40 is secured by all of the Debtor’s personal property,

including the 401K proceeds and IRA Proceeds. “An attorney lien prevents a client from

benefiting from an attorney’s services without paying for them.” City of Oronoco v. Fitzpatrick

Real Estate, LLC, 869 N.W. 2d 332,334 (Minn. App. 2015) citing Dorsey & Whitney LLP v.

Grossman, 749 N.W.2d 409, 420 (Minn. App. 2008). Under Minn. Stat. §481.13, subd. 1(a),

Sieloff had an attorney’s lien for compensation from the time when the marital dissolution action

commenced in September 2014.

                [a]n attorney has a lien for compensation whether the agreement for
                compensation is expressed or implied (1) upon the cause of action from the time
                of the service of the summons in the action, or the commencement of the
                proceeding, and (2) upon the interest of the attorney’s client in any money or
                property involved in or affected by any action or proceeding in which the
                attorney may have been employed, from the commencement of the action or
                proceeding, and, as against third parties, from the time of filing the notice of the
                lien claim, as provided in this section.

Minn. Stat. §481.13, subd. 1(a). Sieloff’s lien for $25,730.40 had priority against all third parties

from the time of filing the notice of lien claim when Sieloff served a Notice of Attorney’s Lien

on the Debtor, the Debtor’s ex-wife, and on her attorney on October 26, 2016, in the amount of

$25,730, and filed a UCC-1 Financing Statement with the Office of the Minnesota Secretary of

State on October 26, 2016. See Exs. C, D and E to Sieloff Aff.

                   [a]n attorney has a lien for compensation upon a judgment whether there is a
                   special express or implied agreement as to compensation, or whether a lien is
                   claimed for the reasonable value of the services. The lien extends to the
                   amount of the judgment from the time of giving notice of the claim to the
                   judgment debtor. The lien under this paragraph is subordinate to the rights

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                  existing between the parties to the action or proceeding.

Minn. Stat. §481.13, subd. 1(b); see also, City of Oronoco at 336; Williams v. Dow Chemical,

415 N.W. 2d 20, 26 (Minn. App. 1987). Here, Sieloff perfected its attorney’s lien against the

401K Proceeds and IRA Proceeds and the Debtor’s other personal property on October 26, 2016.

“[A]n attorney lien is generally ‘superior to the rights of plaintiff’s judgment creditors.’” Id. at

337, quoting LaFleur v. Schiff, 239 58 N.W.2d 320, 323 (Minn. 1953). Sieloff’s attorney’s lien

against the 401K Proceeds and IRA Proceeds is perfected against the claims of all third parties,

and survives the bankruptcy filing.

B.              Sieloff’s Attorney’s Lien Against the 401K Proceeds is a Perfected Statutory Lien
                Which Cannot Be Avoided under 11 U.S.C. §545.

                Sieloff’s attorney’s lien is a statutory lien under 11 U.S.C. §101(53), which arises by

force of statute under Minnesota law, Minn. Stat. §481.13.

                The term “statutory lien” means lien arising solely by force of a statute on
                specified circumstances or conditions, or lien of distress for rent, whether or not
                statutory, but does not include security interest or judicial lien, whether or not
                such interest or lien is provided by or is dependent on a statute and whether or not
                such interest or lien is made fully effective by statute.

11 U.S.C. §101(53); see also, McCarthy v. Brevik Law (In re McCarthy), 501 B.R 89, 90 (8th

Cir. BAP 2013); In re Storage Technology, 45 B.R. 363, 364 (D. Col. 1985). Because Sieloff’s

lien was perfected on October 26, 2016, well before the commencement of the bankruptcy on

January 23, 2018, the neither the Trustee nor the Debtor can avoid the attorney’s lien under 11

U.S.C. §545(2) 1, which allows the avoidance of unperfected statutory liens against a debtor’s

property.



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        The trustee may avoid the fixing of a statutory lien on property of the debtor to the extent that such
      lien ... is not perfected or enforceable at the time of commencement of the case against a bona fide
      purchaser that purchased such property at the time of commencement of the case....
      11 U.S.C. § 545(2).

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C.              The Debtor Cannot Claim an Exemption in the 401K Proceeds and IRA Proceeds
                Obtained from His Ex-Wife Pursuant to the Dissolution Decree under 11 U.S.C.
                §522(b)(3)(C).

                The Debtor improperly claimed the 401K Proceeds and IRA Proceeds as exempt under

11 U.S.C. §522(b)(3)(C). Because the 401K Proceeds and IRA Proceeds are a distribution from

the ex-wife’s retirement funds from her 401K account with Wells Fargo, the funds no longer

qualify as “retirement funds” once they are in the Debtor’s possession, under the Supreme Court

decision, Clark v. Rameker, 134 S. Ct. 2242 (2014).

                The Debtor claims the 401K Proceeds and IRA Proceeds exempt under 11 U.S.C.

§522(b)(3)(C), which states:

                an individual debtor may exempt from property of the estate the property listed in either
                paragraph (2) or, in the alternative, paragraph (3) of this subsection. …..
                                              *                 *            *
                   (3) Property listed in this paragraph is--
                       (C) retirement funds to the extent that those funds are in a fund or account that is
                           exempt from taxation under section 401, 403, 408, 408A, 414, 457, or 501(a)
                           of the Internal Revenue Code of 1986.
11 U.S.C. §522(b)(3)(C).

                Because the Bankruptcy Code does not define “retirement funds,” the U.S. Supreme

Court gave the term its plain meaning, as “sums of money set aside for the day an individual

stops working.” Clark at 2246. To determine whether a particular set of funds falls within this

definition, courts must examine “the legal characteristics of the account in which the funds are

held, asking whether, as an objective matter, the account is one set aside for the day when an

individual stops working.” Id.

                In Clark, the Supreme Court analyzed the legal characteristics of inherited IRA accounts

and determined that they do not qualify as “retirement funds” that can be exempted under 11

U.S.C. §522(b)(3)(C). The Supreme Court noted that once IRA accounts are inherited, distinct
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rules govern the use of the inherited IRA accounts, as opposed to the rules which govern

traditional IRA accounts. First, the federal tax code gives IRA accounts specific tax advantages

to encourage account holders to contribute regularly towards their retirement savings; whereas

inherited IRA owners cannot make additional investments into the account. Id. at 2247. Second,

IRA account holders face a 10% tax penalty for withdrawing funds prior to the age of 59½;

whereas inherited IRA owners are required to withdraw funds from the account over a five-year

period or to take minimum annual distributions. Id. Third, the owner of an inherited IRA

account is free to withdraw the entire balance of the account at any time without the 10% early

withdrawal penalty. “[I]nherited IRAs constitute a pot of money that can be freely used for

current consumption,” as opposed to a restricted fund specifically held for retirement savings.

Id.

                Similarly, here, when the Debtor’s ex-wife held the 401K account and IRA account with

Wells Fargo, she benefitted from tax advantages which encouraged her to make payroll

contributions, and she alone could make those contributions from her earnings. When the Debtor

takes possession of the 401K Proceeds and IRA Proceeds, the funds are no longer tax-qualified,

and the Debtor will be unable to make additional contributions to the 401K Proceeds account or

to the IRA Proceeds account.             Second, under the Wells Fargo QDRO, the Debtor, as the

“Alternative Payee”, would receive the 401K Proceeds as a lump sum distribution, with no

requirement that the funds it be rolled over to an IRA or other tax-qualified account. Like an

IRA accountholder, a 401K accountholder faces a 10% penalty on early withdrawals from the

401K account before the age of 59½; whereas here, the Debtor would be free to spend the all of

the 401K Proceeds without facing the 10% early withdrawal penalty. Under the ruling in Clark

v. Rameker, the distinct legal characteristics of the ex-wife’s 401K Retirement Account and IRA



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account with Wells Fargo and the 401K Proceeds and IRA Proceeds that the Debtor will receive

through the QDRO show that the 401K Proceeds and IRA Proceeds do not qualify as “retirement

funds” under 11 U.S.C. §522(b)(3)(C). See also, In re Kizer, 539 B.R. 316, 326 (Bankr. E.D.

Mich. 2015) (debtor cannot exempt his ex-wife’s 401K funds he received under QDRO as

retirement funds); In re Anderson, 269 B.R. 27, 32 (Bankr. D. Minn. 2001) (IRA acquired

through divorce settlement not derived directly from debtor’s employment is not exempt).

                In this case, the Debtor cannot claim the 401K Proceeds or the IRA Proceeds as exempt

property under 11 U.S.C. §522(b)(3)(C), and those funds remain property of the estate and

subject to Sieloff’s perfected attorney’s lien.

                                              CONCLUSION

                For the above reasons, Sieloff & Associates, P.A. requests that the Court deny the

Debtor’s claimed exemption in the 401K proceeds and the IRA Proceeds.



                                                          LEONARD, O’BRIEN
                                                          SPENCER, GALE &SAYRE, LTD.

Dated: March 28, 2018                                     By: /e/ Andrea M. Hauser
                                                             Matthew R. Burton, #
                                                             mburton @losgs.com
                                                             Andrea M. Hauser, #207469
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                                                          Attorneys for Sieloff & Associates, P.A




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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
_____________________________________________________________________________

In re:
                                                                                   Bky. No. 18-50037
Brian A. Lerbakken,
                                                                                            Chapter 7
                     Debtor.
                                         AFFIDAVIT OF RONALD B. SIELOFF
______________________________________________________________________________

STATE OF MINNESOTA                     )
                                       ) ss.
COUNTY OF DAKTOA                       )           Ronald B. Sieloff, being first duly sworn, deposes

and states as follows:

                1.   I am the owner of the law firm of Sieloff and Associates, P.A. (“Sieloff”), and

have personal knowledge of the facts contained herein.

                2.   Attached as Exhibit A is a true and correct copy of the Retainer Agreement dated

September 5, 2014, between the Debtor, Brian L. Lerbakken (the “Debtor”) and Sieloff.

                3.   Attached as Exhibit B is a true and correct copy of the Financial Early Neutral

Evaluation Settlement Agreement dated February 17, 2015 (“FENE Agreement”) between the

Debtor and his ex-spouse.

                4.   Attached as Exhibit C is a true and correct copy of the Notice of Attorney’s Lien

served by certified mail on the Debtor on October 26, 2016.

                5.   Attached as Exhibit D is a true and correct copy of the Notice of Attorney’s Lien

served by first class mail on the Debtor’s counsel, Timothy Costly, and upon the Debtor’s ex-

wife’s counsel, Matthew Beaumier, on October 26, 2016.




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            6.    Attached as Exhibit E is a true and correct copy of the UCC-1 Financing

Statement filed by Sieloff with the Office of the Minnesota Secretary of State on October 26,

2016, filing no. 911876300021.

            7.    After the execution of the FENE Agreement, the Debtor received a worker’s

compensation settlement of $270,000. Without providing notice to me, the Debtor and his ex-

spouse agreed that the ex-spouse was entitled to receive $19,575 as her marital portion of the

Debtor’s worker’s compensation settlement, and that the ex-spouse’s equity balancing payment

would be reduced from $23,287, as previously stated in the FENE Agreement, by $19,575, to

only $3,712.

            8.    Attached as Exhibit F is a true and correct copy of the Findings of Fact,

Conclusions of Law, Order for Judgment and Judgment and Decree and Memorandum dated

Aug. 8, 2017 (“Dissolution Agreement”), in the case, In re the Marriage of Brain Allan

Lerbakken, Petitioner and Paula Jean Foede, Respondent, Case no. 38-FA-14-379.

            9.    Attached as Exhibit G is a true and correct copy of the Notice of Filing and Entry

of Order Establishing and Enforcing Attorney’s Lien dated October 17, 2017 (Attorney Lien

Order”), in In re the Marriage of Brain Allan Lerbakken, Petitioner and Paula Jean Foede,

Respondent, and Sieloff and Associates, P.A., Attorney Lien Complainant, Case no. 38-FA-14-

379, Sixth Judicial District of Minnesota.

            10.   Attached as Exhibit H is a true and correct copy of the Debtor’s Schedule C-

Exempt Property.




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                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
________________________________________________________________________________

In re:                                                Chapter 7
                                                      BKY Case No. 18-50037
Brian A. Lerbakken,

            Debtor.
_________________________________________________________________________________

                     UNSWORN CERTIFICATE OF SERVICE
_________________________________________________________________________________

I hereby certify that on March 28, 2018, I caused the following documents:

      1. Motion of Sieloff & Associates, P.A. Objecting to Debtor’s Claim of Exempt Property;
      2. Memorandum in Support of Motion;
      3. Affidavit of Ronald B. Sieoff;
      4. Order (proposed).

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an e-notice of
the electronic filing to the ECF participants.
I further certify that I caused a copy of the foregoing documents to be mailed by first class mail,
postage paid, to the following non-ECF participants:

Brian A. Lerbakken
1431 Press Camp Road
Two Harbors, MN 55616

Dated: March 28, 2018                                 /e/ Luann K. Tims____________
                                                     100 South Fifth Street, Suite 2500
                                                     Minneapolis, MN 55402
                                                     612-332-1030




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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:
                                                                                      Bky. No. 18-50037
Brian A. Lerbakken,
                                                                      Chapter 7
            Debtor.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

                This case came before the court on the motion of Sieloff and Associates, P.A., objecting

to the debtor’s claim of exempt property in a 401K account with Wells Fargo and in the IRA

account.

                Based upon the objection, the files and proceedings,

                IT IS ORDERED:

                1.     The motion of Sieloff and Associates, P.A. objecting to the debtor’s claim of

                       exempt property is sustained.

                2.     The debtor’s claim of exemptions in the 401K account with Wells Fargo and in

                       the IRA account is denied.




Dated: __________________                              ______________________________________
                                                       United States Bankruptcy Judge




{00695784.1 }
